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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
VS.                                              §   CRIMINAL ACTION NO. C-07-525
                                                 §
DAVID ARROYO, et al,                             §
                                                 §
          Defendants.                            §

      ORDER GRANTING MOTION FOR RELEASE OF MATERIAL WITNESSES

        The Court, having considered the Government’s Motion For Release of Material

Witnesses, finds that the witnesses in this case should be released from the custody of the United

States Marshals Service and delivered to the Bureau of Immigration and Customs Enforcement.

It is therefore,

        ORDERED that Olvin Galindo-Giron, Abel DeJesus Cruz-Sanchez, Franklin

DeJesus Perez-Gomez, and Maria Villarreal-Saenz, be released forthwith from the custody of

the United States Marshals Service, and into the custody of the Bureau of Immigration and

Customs Enforcement. It is further,

        ORDERED that the Clerk of the Court shall provide a copy of this order to the United

States Marshals Service.


        SIGNED and ORDERED this 28th day of November, 2007.


                                                 ___________________________________
                                                          Janis Graham Jack
                                                       United States District Judge




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